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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                             CASE NO.: 19-24166-CIV-MORENO
  MALEY DACOSTA,

         Plaintiff,
  vs.

  THE CITY OF HIALEAH, a Political
  Subdivision, and JESUS “JESSE”
  MENOCALL, JR., an individual,

       Defendants.
  ________________________________/

         DEFENDANT, CITY OF HIALEAH’S MOTION TO DISMISS PLAINTIFF’S
             COMPLAINT AND SUPPORTING MEMORANDUM OF LAW

         Defendant, The City of Hialeah (“City”), moves this Court, pursuant to Rule 12(b)(6)

  of the Federal Rules of Civil Procedure, for the entry of an Order dismissing the Complaint

  filed herein by the Plaintiff, Maley Dacosta (“Plaintiff”) and, in support thereof, submits the

  following incorporated Memorandum of Law:

                                        BACKGROUND

         1.      This is an action for damages arising out of an alleged sexual assault that

  the Defendant, Jesus Menocal (“Menocal”), a City of Hialeah police officer, perpetrated

  on the Plaintiff at a Hialeah police station on June 14, 2015. See Plaintiff’s Complaint

  attached as Exhibit A to Defendant’s Notice of Removal [ECF No. 1] at pp. 1, ¶¶2 and 3.

         2.      Specifically, Plaintiff alleges that Menocal falsely arrested her, detained her

  against her will, forced her to strip down, and began rubbing himself and asking sexually

  explicit questions, before swearing her to silence and ultimately releasing her without

  charging her with a crime. Id. at pp. 1 and 2, ¶¶3 through 8.
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         3.     Plaintiff further alleges that, in doing so, Menocal violated her Constitutional

  rights, engaged in conduct violative of 42 U.S.C. §1983, committed various common law

  and intentional torts, including False Arrest (Count I), Battery (Count II), Intentional

  Infliction of Emotional Distress (Count V), Negligent Infliction of Emotional Distress (Count

  VI), and Negligence (Count VI).

         4.     Though inartfully drawn, Plaintiff appears to assert those same causes of

  action against the City, principally under a theory sounding in respondeat superior, as

  well as a claim for Negligent Supervision and Retention (Count IV), the latter of which is

  predicated on what Plaintiff alleges to be “a history of misconduct” involving “Defendant

  Archer”. Compl. at p. 7, ¶58 (emphasis added).1

         5.     Plaintiff then boldly asserts a general entitlement to compensatory and

  exemplary damages, as well attorney’s fees as to both Defendants, without proffering any

  statutory, contractual, or common law bases for the latter or making any effort to lay a

  proper predicate (to the extent one conceivably exists) for the recovery of punitive

  damages, especially for her negligence-related causes of action.




  1 Plaintiff’s reference to the wrong officer defendant in Paragraph 58 is hardly the only
  glaring “party error” in her Complaint. Indeed, the Complaint is riddled with references to
  the wrong police officer defendant and the wrong municipality. See Compl. at ¶39
  (‘Defendant, Menocal, a Miami Beach police officer”), ¶42 (“As a result of the actions of
  Defendant, Menocal, for which the City of Miami Beach is responsible”), ¶44 (“Plaintiff,
  Dacosta alleges that Defendant Archer committed the tort of false arrest”), ¶45
  (“Vicarious liability should be imposed on the City of Hialeah for the Defendant Archer’s
  acts of false arrest”), Count II and ¶48 (wherein Plaintiff captions Count II as being a
  Battery claim against the “City of Miami Beach” and alleges that the wrongful misconduct
  occurred at “the City of Miami Beach Police Station”), and ¶49 (“As a result of the actions
  of Defendant Archer”). Any one or all of these pleading irregularities, standing alone, is
  sufficient to warrant dismissal of Plaintiff’s Complaint.
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         6.     This Motion seeks dismissal of Plaintiff’s claims that seek to hold the City

  vicariously liable for the intentional conduct of its employees in violation of Florida’s

  sovereign immunity statute, as well as Plaintiff’s claims for negligent training, supervision,

  and retention, because the activities complained of are a discretionary function of the City

  for which it is immune from liability.

                                    STANDARD OF REVIEW

         It is hornbook law that a pleading in a civil action must contain “a short and plain

  statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

  8(a)(2). While a complaint “does not need detailed factual allegations,” it must provide

  “more than labels and conclusions, and a formulaic recitation of the elements of a cause

  of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that Rule 8(a)(2)’s pleading

  standard “demands more than an unadorned, the-defendant-unlawfully-harmed-me

  accusation”). Moreover, a complaint cannot rest on “‘naked assertion[s]’ devoid of ‘further

  factual enhancement.’” Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557

  (alteration in original)). Instead, “[t]o survive a motion to dismiss, a complaint must contain

  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

  face’.” Id. (quoting Twombly, 550 U.S. at 570).

         Similarly, “more than conclusory allegations are required to state a cause of action

  under §1983”. Bush v. City of Daytona Beach, No. 6:12-CV-1541-ORL-36, 2013 WL

  3209430, at *6 (M.D. Fla. 2013) (citing Keating v. City of Miami, 598 F.3d 753, 762–63

  (11th Cir. 2010) (“this circuit, along with others, has tightened the application of Rule
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  8 with respect to §1983 cases in an effort to weed out nonmeritorious claims, requiring

  that a §1983 plaintiff allege with some specificity the facts which make out its claim”)

  (internal quotation marks omitted)). Finally, when reviewing a motion to dismiss, a court

  must limit its consideration to the pleadings and exhibits attached to the pleadings and,

  as a general rule, must accept the plaintiff’s allegations as true and evaluate all plausible

  inferences derived from those facts in favor of the plaintiff. See, e.g., Chaparro v. Carnival

  Corp., 693 F.3d 1333, 1337 (11th Cir. 2012); Miccosukee Tribe of Indians of Florida v.

  South Everglades Restoration Alliance, 304 F.3d 1076, 1084 (11th Cir. 2002).

                                          ARGUMENT

         I.      THE CITY IS ENTITLED TO THE DISMISSAL OF PLAINTIFF’S
                 SECTION 1983 CLAIMS

         In Monell v. Department of Social Services, 436 U.S. 658, 691 (1978), the

  Supreme Court made it clear that although municipalities can be sued under section

  1983, liability must be predicated upon more than a theory of respondeat superior.

  Furthermore:

                 Local governing bodies . . . can be sued directly under § 1983
                 . . . where . . . the action that is alleged to be unconstitutional
                 implements or executes a policy statement, ordinance,
                 regulation, or decision officially adopted and promulgated by
                 that body’s officers. Moreover . . . local governments . . . may
                 be sued for constitutional deprivations visited pursuant to
                 governmental “custom” even though such a custom has not
                 received formal approval through the body’s official decision-
                 making channels.

  Id. at 690-691 (internal footnotes omitted).2 Regardless of whether the basis of the claim


  2For purposes of 42 USC §1983, official municipal policy includes the decisions of a
  government’s lawmakers, the acts of its policymaking officials, and practices so persistent
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  is an officially promulgated policy or an unofficially adopted custom, however, it must be

  the “moving force of the constitutional deprivation” before liability may attach. City of

  Oklahoma City v. Tuttle, 471 U.S. 808, 820 (1985) (internal quotation marks omitted)

  (quoting Polk County v. Dodson, 454 U.S. 312, 326 (1981)); see also McDowell v. Brown,

  392 F.3d 1283, 1289 (11th Cir. 2004) (stating the general rule that "[t]o impose [section]

  1983 liability on a municipality, a plaintiff must show: (1) that his constitutional rights were

  violated; (2) that the municipality had a custom or policy that constituted deliberate

  indifference to that constitutional right; and (3) that the policy or custom caused the

  violation").

         Thus, not only must there be some degree of “fault” on the part of the municipality

  in establishing or tolerating the custom or policy, but there also must exist a causal link

  between the custom or policy and the deprivation. City of Oklahoma City, 471 U.S. at 824;

  see also Grech v. Clayton County, Ga., 335 F.3d 1326, 1330 (11th Cir. 2003)(quoting City

  of Canton v. Harris, 489 U.S. 378, 389 (1989) for the proposition that, in order to prevail

  against a municipality on a section 1983 claim “[m]ost plaintiffs ... must show that the

  county has a custom or practice of permitting [a particular constitutional violation] and that

  the county's custom or practice is the ‘moving force [behind] the constitutional violation’").

  The Supreme Court, in turn, “has defined the term ‘custom’ to include ‘persistent and

  wide-spread ... practices,’ ‘permanent and well settled’ practices, and ‘deeply embedded

  traditional ways of carrying out policy.’” Fundiller v. City of Cooper City, 777 F.2d 1436,



  and widespread as to practically have the force of law. Connick v. Thompson, 131 S. Ct.
  1350, 1359 (2011). These are the only “‘action[s] for which the municipality is actually
  responsible.’” Id. (citing Pembaur v. Cincinnati, 475 U.S. 469, 479–80 (1986)).
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  1442 (11th Cir. 1985) (citation omitted). “Although not necessarily adopted by a person

  or body with rulemaking authority, customs can become so settled and permanent as to

  have the force of law.” Id. (citing Monell, 436 U.S. at 690–91).

         Courts in the Southern District of Florida have made it clear that the foregoing

  principles limit municipal liability under section 1983 to situations “where - and only where

  - a deliberate choice to follow a course of action is made from among various alternatives

  by the official or officials responsible for establishing final policy with respect to the subject

  matter in question”. Casado v. Miami-Dade Co., 340 F. Supp. 3d 1320, 1326 (S.D. Fla.

  2018)(quoting Pembaur v. City of Cincinnati, 475 U.S. 469, 483 (1986)); see also Gold v.

  City of Miami, 151 F.3d 1346, 1350 (11th Cir. 1998). Such a showing, in turn, requires a

  plaintiff to plead and prove: (1) that the local government entity ... has authority and

  responsibility over the governmental function in issue; and (2) the identity of those officials

  who speak with final policymaking authority for that local governmental entity concerning

  the act alleged to have caused the particular constitutional violation...." Grech, 335 F.3d

  at 1330. The failure to do so mandates dismissal. Casado, 340 F. Supp. 3d at 1329.

         In this case, Plaintiff has not identified either (1) “a policy statement, ordinance,

  regulation, or decision officially adopted and promulgated by [the City’s] officers, or (2) a

  ‘custom’ [of the City]” that even relates to, let alone served as the “moving force [behind]

  the constitutional deprivation[s]” that form the basis for Plaintiff’s section 1983 claims

  (e.g., her “seizure” and/or false arrest). See Complaint at p. 6 (Count III). In fact, aside

  from collectively referring to “Defendants” in the caption of Count III, mentioning that the

  City was Menocal’s employer, and sloppily incorporating by reference the allegations in
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  “paragraphs one through sixty-four” in Paragraph 51, Plaintiff does not even mention the

  City in the body of Count III. Absent specific allegations describing the custom or policy

  implicated, Plaintiff has not stated and cannot state a cause of action for violation of that

  statute. Accordingly, this Court should Dismiss Count III.3 See Bush v. City of Daytona

  Beach, No. 6:12-CV-1541-ORL-36, 2013 WL 3209430, at *6 (M.D. Fla. 2013) (citing

  Twombly, 550 U.S. at 555 in support of its finding that a complaint that “essentially

  recite[s] the elements of a claim and [does] not provide[] sufficient factual allegations to

  cross ‘the line from conceivable to plausible’” is fatally deficient).

         II.    THE CITY IS IMMUNE FROM LIABILITY FOR ITS EMPLOYEE’S
                WANTON, WILLFUL AND MALICIOUS ACTS

         Section 768.28(9)(a), Florida Statutes provides, in pertinent part, that:

                The State or its subdivisions [i.e., the City of Hialeah] shall not be
                liable in tort for the acts or omissions of an officer, employee, or
                agent committed while acting outside the course and scope of her
                or his employment or committed in bad faith or with malicious
                purpose or in a manner exhibiting wanton and willful disregard of
                human rights, safety, or property.

  Fla. Stat. §768.28(9)(a) (emphasis added).

         Florida state and federal courts, including courts in the Southern District, have

  repeatedly applied section 768.28(9)(a) to bar plaintiffs from pursuing claims against

  municipalities based on a variety of intentional torts, including false arrest, false

  imprisonment, battery, and intentional infliction of emotional distress. See, e.g., Casado,



  3 The City readily acknowledges that the Eleventh Circuit has identified a false arrest as
  a violation of the Fourth Amendment that, properly pled, can form the basis for a viable
  claim under section 1983. See, e.g., Jones v. Brown, 649 Fed. Appx. 889, 890 (11th Cir.
  2016). However, as to the City, Plaintiff simply has not met that pleading standard here.
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  340 F. Supp. 3d at 1330 (allegations that defendant officer repeatedly punched plaintiff in

  the face, slammed him on the hood of his car, arrested him without probable cause, and

  fabricated evidence “constitute conduct that can only be described as ‘committed in bad

  faith or with malicious purpose’ and, therefore, triggered section 768.28(9)(a) immunity

  for defendant municipality); see also Weiland v. Palm Beach County Sheriff's Office, 792

  F.3d 1313, 1330 (11th Cir. 2015) ("Fla. Stat. §768.28(9)(a) ... bars claims for both

  intentional infliction of emotional distress and malicious prosecution"); Alicea v. Miami-

  Dade County, No. 13-21549-Bloom [DE 95] (S.D. Fla. Oct. 25, 2014) (while plaintiff's

  "complaint skillfully avoids the words ‘malicious, bad faith or in reckless and wanton

  disregard for human rights, safety, or property’ county was nonetheless entitled to section

  768.28(9)(a) immunity because the complaint alleged that the officer "made false

  statements and material omissions" regarding the plaintiff's arrest and "‘violently

  pummeled’ [the plaintiff] in the head, face and torso [which was done] without reasonable

  suspicion or probable cause"); Mena v. Miami-Dade County, No. 14-20030-CIV, 2014 WL

  3667806, *2 (S.D. Fla. July 22, 2014) (officers’ actions, which included “pulling Mr. Mena

  out of the car, throwing Mr. and Mrs. Mena, beating them, handcuffing them, and arresting

  them[,]” could only be characterized “as actions ‘committed in bad faith or with malicious

  purpose’” and, therefore, plaintiffs’ intentional tort claims against the county were barred

  by Section 768.28(9)(a)).

         Plaintiff’s intentional tort claims against the City (Count I – False Arrest, Count II –

  Battery, and Count V – Intentional Infliction of Emotional Distress) should suffer a similar

  fate. Indeed, the officer-involved conduct alleged here, which includes taking a minor into
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  custody, transporting her to a room with no cameras, locking the door, instructing her to

  remove her clothing, asking her sexually explicit questions, and telling her to remove her

  bra and panties – all while the officer “touched himself” is far more egregious than that

  which the courts in Casado, Alicea, and Mena deemed only characterizable as conduct

  “committed in bad faith or with malicious purpose”. Compl. at pp. 3 and 4, ¶¶18-27.

  Moreover, Plaintiff alleges that Menocal implicitly and explicitly intimidated and threatened

  to seek retribution against her if she told anyone about his having sexually assaulted her.

  Id. at p. 4, ¶¶28-34. Finally, given the nature and gravity of Plaintiff’s allegations, the

  mere fact that she affirmatively alleges that Menocal did not act “in bad faith or with

  malicious purpose, nor in a manner exhibiting willful and wanton disregard of human

  rights, safety, or property” does not support, let alone require a different result any more

  than the plaintiff’s “skillful” failure to mention the buzz words in Alicea altered the result

  mandated by a plain reading of the allegations in that complaint.

         III.   THIS COURT SHOULD DISMISS COUNT IV, SINCE PLAINTIFF
                REPEATEDLY ALLEGES THAT MENOCAL ACTED IN THE
                COURSE AND SCOPE OF HIS EMPLOYMENT AT ALL TIMES

         Florida state and federal courts have consistently held that a plaintiff may pursue

  a claim against an employer for negligent hiring, retention, and/or supervision claim, but

  only to the extent that the offending acts of the employee upon which the underlying claim

  is predicated were committed outside the scope and course of employment. See, e.g.,

  Johnson v. Scott, No. 2:13–cv–500–FtM–38UAM, 2013 WL 5928931, at *6 (M.D. Fla.

  Nov. 1, 2013); see also Belizaire v. City of Miami, 944 F. Supp. 2d 1204, 1214 (S.D. Fla.

  2013) (“[T]he tort of negligent hiring or retention under Florida law 'allows for recovery
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  against an employer for acts of an employee committed outside the scope and course of

  employment”'). Obviously, the converse also is true, namely where a plaintiff affirmatively

  alleges that the underlying acts of the employee occurred within the course and scope of

  their employment, a claim for negligent hiring, retention, and/or supervision will not lie and

  must be dismissed. See, e.g., Debose v. University of South Florida, 178 F. Supp. 3d

  1258, 1269-70 (M.D. Fla. 2016).

         In Count IV of her Complaint, Plaintiff seeks to hold the City liable for failing to train

  and/or retrain, failing to supervise, failing to discipline, failing to reassign, and retaining

  Defendant Menocal for the myriad of acts committed against her – all of which, on their

  face, would plainly seem to be well outside the course and scope of Defendant Menocal’s

  duties as a City police officer. Compl. at p. 7. However, Plaintiff repeatedly and

  affirmatively alleges just the opposite (i.e., that, at all times material to the Complaint,

  Menocal “was acting in the course and scope of his duties as a police officer”). See

  Compl. at 5, ¶39. See also Id. at p. 5, ¶47 (“Defendant City of Hialeah is responsible for

  the conduct of its police officers who are acting in the course and scope of their

  employment”); p. 6, ¶48 (“Defendant Menocal, while acting in the course and scope of his

  employment as a police officer …”). Accordingly, this Court should dismiss her claims for

  negligent hiring, retention and/or supervision.

         IV.    PLAINTIFF’S CLAIM FOR NEGLIGENT TRAINING ALSO MUST
                BE DISMISSED BECAUSE THE CITY HAS NOT WAIVED ITS
                SOVEREIGN IMMUNITY FOR DISCRETIONARY FUNCTIONS,
                INCLUDING POLICE OFFICER TRAINING

         It is settled law that “a governmental agency is immune from tort liability based

  upon actions that involve its ‘discretionary’ functions, such as development and planning
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  of governmental goals and policies.” Swofford v. Eslinger, 686 F. Supp. 2d 1277, 1290

  (M.D. Fla 2009)(citing Lewis v. City of St. Petersburg, 260 F.3d 1260, 1266 (11th Cir.

  2001)) (internal quotation omitted). Moreover, courts consistently have held that a

  government municipality’s decisions “regarding how to train its officers and what subject

  matter to include in the training is clearly an exercise of governmental discretion regarding

  fundamental questions of policy and planning” and, therefore, barred by sovereign

  immunity. Lewis v. City of St. Petersburg, 260 F.3d 1260, 1266 (11th Cir. 2001); see also

  Bussey–Morice v. Kennedy, No. 6:11–cv–970–Orl–36GJK, 2013 WL 71803, at *5 (M.D.

  Fla. Jan. 7, 2013); Gelbard v. City of Miami, 845 F. Supp. 2d 1338, 1341 (S.D. Fla. 2012).

         In Count IV of her Complaint, Plaintiff expressly challenges the policy decisions of

  the City relating to the manner in which it trained or retrained or, alternatively, failed to

  train or retrain Officer Menocal. In doing so, she also is implicitly challenging policies

  established by the State of Florida, including, but not limited to, standards promulgated

  by the Criminal Justice Standards and Training Commission, which the Florida

  Legislature created to “actively provide statewide leadership in the establishment,

  implementation, and evaluation of criminal justice standards and training for all law

  enforcement officers, correctional officers, and correctional probation officers.” Fla. Stat.

  § 943.085(3). Such challenges strike at the heart of the “discretionary functions” of a State

  and its municipalities, including the City, and, as such, are barred by the doctrine of

  sovereign immunity.        Accordingly, this Court should strike the negligent training

  allegations in Count IV.
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         V.     THE ALLEGATIONS IN THE COMPLAINT ARE LEGALLY
                INSUFFICIENT TO RENDER THE CITY VICARIOUSLY LIABLE
                FOR MENOCAL’S INTENTIONAL TORTS

         Florida courts consistently have held that “an employer cannot be held liable for

  the tortious or criminal acts of an employee [under the doctrine of respondeat superior],

  unless they were committed during the course of the employment and to further a purpose

  or interest, however excessive or misguided, of the employer”. See, e.g., Nazareth v.

  Herndon Ambulance Serv., Inc., 467 So. 2d 1076, 1078 (Fla. 5th DCA 1985) (cases cited

  therein); see also Perez v. Zazo, 498 So. 2d 463, 465 (Fla. 3d DCA 1986)(“It is entirely

  clear that responsibility for the intentional wrongful acts of a servant-employee may be

  visited upon his master-employer under the doctrine of respondeat superior only when

  that conduct in some way furthers the interests of the master or is at least motivated by a

  purpose to serve those interests, rather than the employee's own”).

         These same courts, in turn, have held that an employee's conduct is deemed to

  be “within the scope of his employment” for purposes of determining [an] employer's

  vicarious liability to third persons injured by the employee, only if (1) the conduct is of the

  kind the employee is hired to perform, (2) the conduct occurs substantially within the time

  and space limits authorized or required by the work to be performed, and (3) the conduct

  is activated at least in part by a purpose to serve the master”. Sussman v. Florida E.

  Coast Props., Inc., 557 So. 2d 74, 75–76 (Fla. 3d DCA), rev. den., 574 So. 2d 143 (Fla.

  1990) (emphasis added); see also Kane Furniture Corp. v. Miranda, 506 So. 2d 1061

  (Fla. 2d DCA), rev. denied, 515 So. 2d 230 (Fla. 1987); Whetzel v. Metropolitan Life Ins.

  Co., 266 So. 2d 89 (Fla. 4th DCA 1972). Thus, as a general rule, “sexual assaults and
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  batteries by employees are held to be outside the scope of an employee's employment,

  and therefore, insufficient to impose vicarious liability on the employer.” Nazareth, 467

  So. 2d at 1078 (cases cited therein).

           Here, the gravamen of Plaintiff’s Complaint, though clothed in a myriad of

  intentional and negligence-based causes of action (i.e., false arrest, battery, intentional

  and negligent infliction of emotional distress, negligent supervision and retention, and

  negligence) is a sexual assault that allegedly was perpetrated by Menocal. Plaintiff further

  alleges that the City is vicariously liable for Menocal’s intentional and tortious misconduct,

  because, he purportedly was acting in the course and scope of his employment when he

  committed that assault - allegations that, while wholly unsupportable under Florida law,

  this Court must accept as true for purposes of the instant Motion. However, Plaintiff has

  not alleged that, in engaging in that sexual assault, Menocal was “furthering a purpose or

  interest” of the City, nor, in good faith, can she make such a claim. Accordingly, the City

  is entitled to the entry of an Order dismissing Counts I, II, V, VI, and VII.4.

           VI.    THIS COURT MUST DISMISS OR STRIKE PLAINTIFF’S CLAIMS
                  AGAINST THE CITY FOR EXEMPLARY DAMAGES

           This Court must dismiss or strike Plaintiff’s claims for punitive damages against

  the City because she has failed to plead any basis for recovery of punitive damages

  against a municipality. In the ad damnum clause of her Complaint, Plaintiff prays, in a

  conclusory fashion, for an award of, inter alia, “punitive and exemplary damages

  according to proof” against both Defendants. Compl. at p. 9, ¶78(b). As such, it is




  4   Plaintiff erroneously/duplicatively mislabeled her Negligence Count as “Count VI”.
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  impossible to determine whether that demand applies to one or more or all Counts

  asserted in the Complaint. However, to the extent it pertains to the City, it must be stricken

  or dismissed, as the City is immune for punitive damages on all Counts against it as

  alleged.

         First, as to her federal claim, Plaintiff cannot pursue punitive damages against the

  City because “a municipality is immune from punitive damages under 42 U.S.C. § 1983.”

  City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981). As to her state law

  claims, while Florida’s waiver of sovereign immunity statute provides that “[t]he state and

  its agencies and subdivisions shall be liable for tort claims in the same manner and to the

  same extent as a private individual under like circumstances,” it expressly provides that

  such “liability shall not include punitive damages” […].5 Section 768.28(5), Fla. Stat.

  (emphasis added).

         Accordingly, Plaintiff’s “demand” for an award of exemplary damages should be

  stricken.

                                        CONCLUSION

         Based on the foregoing arguments and authorities, Defendant, The City of Hialeah,

  respectfully requests that this Court dismiss any and all claims against it in Plaintiff’s

  Complaint and that this Court grant the City any and all such further relief to which it is

  entitled.




  5As used in this act, “state agencies or subdivisions” is defined to include “counties and
  municipalities.” Section 768.28(2), Fla. Stat.
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                                                  CASE NO.: 19-24166-CIV-MORENO
                     DEFENDANT, CITY OF HIALEAH’S MOTION TO DISMISS PLAINTIFF’S
                             COMPLAINT AND SUPPORTING MEMORANDUM OF LAW


                               CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY on this 16th day of October, 2019 the undersigned filed
  the foregoing with the Clerk of the Court for the United States District Court, Southern
  District of Florida, by using the CM/ECF system to: ANTHONY M. GEORGES-PIERRE,
  ESQ., Remer & Georges-Pierre, PLLC, Counsel for Plaintiff, 44 West Flagler St., Ste.
  2200, Miami, FL 33130.

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